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                                                       NORTHERN DISTRICT OF TEXAS
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                  IN THE UNITED STATES DISTRICT OURT
                       NORTHERN DISTRICT OF TEXA
                                                              NOV - 1 2018
                           FORT WORTH DIVISION

STEVE ELIAS                          §                  CLERK, U.S. DISTRICT COURT
F/K/A STEVE WAINSHTOK                §                    BY~~-:-~~~~~
                                                                  Deputy
D/B/A MAGIC LOCKSMITH,               §
                                     §
             Plaintiff,              §
                                     §
vs.                                  §   NO. 4:18-CV-586-A
                                     §
ELIRAN PILO,                         §
                                     §
             Defendant.              §


                           MEMORANDUM OPINION
                                   and
                                  ORDER

      Before the court for consideration is the motion of

defendant, Eliran Pila, to dismiss the claims of plaintiff, Steve

Elias f/k/a Steve Wainshtok d/b/a Magic Locksmith, against him in

the above-captioned action. Having considered the motion,

plaintiff's response thereto, the applicable legal authorities,

and the entire record, the court finds that the motion should be

granted and that plaintiff's claims against defendant should be

dismissed.

                                    I.

                     Plaintiff's Amended Complaint

      Plaintiff initiated the above-captioned action on

November 21, 2017,    in the 141st Judicial District Court of

Tarrant County, Texas. After removal to this court, plaintiff

amended his complaint on September 17, 2018, and that complaint
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remains plaintiff's live pleading.        In summary form,     the amended

complaint contains the following allegations:

     Plaintiff has had a permit to provide locksmith services in

Los Angeles County, California, since July 2005.           He owns and

operates a website under the name "magiclockandkey.com," and

markets his services through that website under the trade name

"Magic Locksmith."     He owns common-law rights to the mark "Magic

Locksmith" for locksmithing services, and his permit was issued

in that name, which plaintiff has used since November 2004 and

has registered as a Fictitious Business Name in Los Angeles

County.   Plaintiff has continuously used Magic Locksmith as a

trademark since November 2004, and has continued to file

Fictitious Business Name Statements with Los Angeles County.             He

has obtained licenses from the Bureau of Security and

Investigating Services for the State of California to operate as

a locksmith company in the name of Magic Locksmith.           Those

licenses are required in the State of California for providing

locksmith services.     His current license under the name Magic

Locksmith is valid until November 30, 2018.

     He has continuously marketed his locksmithing services to

consumers using the Magic Locksmith name, and he has distributed

advertising and marketing material, and has utilized social media




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in marketing his locksmithing services, using the Magic Locksmith

name.

        Plaintiff's registration of the magiclockandkey.com was in

February 2008, and he has continuously used that domain since

that date to market his locksmithing services as Magic Locksmith.

Internet archives show the use of the Magic Locksmith mark with

the first capture date of April 10, 2010.           He also owns and

operates the domain magiclocksmithlosangeles.com to market his

locksmithing services.      That domain name was registered by

plaintiff in June 2016.      He also has paid for yellow-page

listings under the name Magic Locksmith.

        Plaintiff generally uses the name Magic Locksmith in his

locksmithing business in commerce, including on invoices and work

orders he issues to consumers.       As a result, consumers have come

to recognize the Magic Locksmith mark as referring to plaintiff.

He has built up goodwill with consumers over the years, and some

consumers have been highly pleased with his services, as

evidenced by their favorable comments.        As a result of the

factors mentioned above, plaintiff has amassed common-law rights

in the mark Magic Locksmith, extending back at least as far as

November 2004.




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     The mark Magic Locksmith is an arbitrary mark, or is at

least suggestive of plaintiff's services.           It is more likely to

be remembered and associated in the public's mind with plaintiff.

     Defendant uses the domain •magiclocksmith.net" to market

locksmithing services.     His registration and use of that domain

is confusingly similar to plaintiff's distinctive mark of Magic

Locksmith.    Defendant's locksmithing services are identical to

the services provided by plaintiff.         They are likely to continue

to provide those identical services through the internet.

Plaintiff became concerned that potential customers would confuse

defendant's website and the services offered by it with his

business, and these concerns were exacerbated when he began to

receive negative reviews for locksmith services not rendered by

him or his company.     Plaintiff initiated an arbitration action

against Magic Locksmith to prevent the continued use of

•magiclocksmith.net,• and succeeded in having that domain name

transferred to him from Magic Locksmith.

                                * * * * *
     Plaintiff asserts five causes of action:          (1)   theft of

property,    (2) conversion of property,     (3) trespass to personal

property,    (4) unjust enrichment, and (5) trade secret

misappropriation.     He asserts that defendant was the owner of

magiclocksmith.net at all relevant times, and discovered his


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identity by connecting the telephone number that the website was

registered under with defendant.                       See Id. at        ~   20, Ex. 3.         He

seeks recovery of actual, special, and exemplary damages,

attorneys' fees, prejudgment and post-judgment interest, and

costs of court.

                                                 II.

                                  Grounds of the Motion

     Defendant urges that plaintiff has failed to state any claim

against him upon which relief can be granted.i

                                                III.

                           Applicable Pleading Standards

     Rule 8 (a) (2) of the Federal Rules of Civil Procedure

provides, in a general way,                 the applicable standard of pleading.

It requires that a complaint contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,"

Fed. R. Civ. P. 8 (a) (2),             "in order to give the defendant fair

notice of what the claim is and the grounds upon which it rests,"

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555                                (2007)   (internal

quotation marks and ellipsis omitted) .                         Although a complaint need

not contain detailed factual allegations, the "showing"

contemplated by Rule 8 requires the plaintiff to do more than

simply allege legal conclusions or recite the elements of a cause


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      111 the alternative, defendant requests a more definite statement of plaintiffs claims against him.

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of action.     Twombly, 550 U.S. at 555 & n.3.        Thus, while a court

must accept all of the factual allegations in the complaint as

true, it need not credit bare legal conclusions that are

unsupported by any factual underpinnings.           See Ashcroft v. Igbal,

556 U.S. 662,    679 (2009)   ("While legal conclusions can provide

the framework of a complaint, they must be supported by factual

allegations.") .

       The facts pleaded must allow the court to infer that the

plaintiff's right to relief is plausible.           Igbal, 556 U.S. at

678.    To allege a plausible right to relief, the facts pleaded

must suggest liability; allegations that are merely consistent

with unlawful conduct are insufficient.        Twombly, 550 U.S. at

566-69.     "Determining whether a complaint states a plausible

claim for relief .        [is] a context-specific task that requires

the reviewing court to draw on its judicial experience and common

sense."     Igbal, 556 U.S. at 679.

                                   IV.

                                 Analysis

       The court has concluded that none of the theories of

recovery alleged by plaintiff survive a Twombly-Igbal pleading

analysis.     The court now explains as to each of the theories why

that is so.




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A.      Theft of Property

        Plaintiff alleges in Count 1 that he brings that cause of

action under the Texas Theft Liability Act ("TTLA"), sections

134.001-134.005 of the Texas Civil Practice and Remedies Code,

for an unlawful appropriation of property within the meaning of

section 31.03 of the Texas Penal Code.

        Section 134.003(a) provides that "[a] person who commits

theft is liable for the damages resulting from the theft.•               The

recovery available under the TTLA is defined in section 134.005

as "the amount of actual damages found by the trier of fact and,

in addition to actual damages, damages awarded by the trier of

fact in a sum not to exceed $1,000."           Penal Code section 31.03(a)

provides that "[a] person commits an offense if he unlawfully

appropriates property with intent to deprive the owner of the

property.•

        The court has concluded that plaintiff has failed to allege

facts from which the court could plausibly infer that defendant

committed a theft.       There are no allegations in the complaint

that would support an inference that defendant •unlawfully

appropriat[ed] property [of plaintiff] with intent to deprive

[plaintiff] of the property.•         Tex. Penal Code     §   31.03.

        The court will assume for the sake of discussion that

•property,• as used in section 31.03(a), includes customer leads


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or information and money derived from those leads.                                     Also, the

court assumes, arguendo, that defendant is the person who

registered and used the domain magiclocksmith.net.'                                     Even then,

one would be required to speculate from the allegations of

plaintiff's complaint whether use of that domain caused plaintiff

to lose any customer leads or information plaintiff otherwise

would have had.             Especially is that so bearing in mind that

plaintiff's base of operation was in Los Angeles County,

California, while defendant's base of operation is, apparently,

in the State of Texas.

        To recover damages for theft under the TTLA, plaintiff must

show that (1) property was                    (2) unlawfully appropriated (3) by

defendant (4) with intent to deprive the owner of that property.

Tex. Pen. Code§ 31.03(a); see Haler v. Boyington Capital Group,

Inc., 411 S.W.3d 631, 635 (Tex. App.-Dallas 2013, pet. denied)

Under the Penal Code, an "owner" is someone having title,

possession, or a greater right to possession of the property than



         'A problem plaintiff has with his allegations as to the theft of propetiy cause of action as well as
all of his other causes of action is that the court cannot plausibly conclude that defendant is the one who
created and used the domain magiclocksmith.net. To connect defendant with that name, plaintiff must
place reliance on the contents of Exhibit 3 to the complaint, Doc. 14, Ex. 3, which is but a report of
someone that the telephone number associated with the individual or other entity referred to in Exhibits I
and 2 to the complaint, id., Exs. 1 & 2, as "Respondent" or "Magic Locksmith" is a telephone number
that a Google search indicates is owned by Eliran Pila of Grand Prairie, Texas. In contrast, plaintiff
alleges in his complaint that defendant is believed to reside in Hurst, Texas. The cowt questions whether
the allegations of the complaint, even when the contents of its exhibits are considered, are sufficient to
establish that defendant is the "Respondent" or "Magic Locksmith" to which reference is made in
Exhibits I and 2 of the complaint. Id.

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the actor. Tex. Pen. Code§ l.07(a) (35). Property is appropriated

when there is a transfer of title to, or other nonpossessory

interest in, property, or when someone acquires or otherwise

exercise control over property other than real property. Tex.

Pen. Code § 31.01(4).        Plaintiff's pleading fails to allege facts

from which the court could infer that defendant has any liability

to plaintiff under the TTLA.

B.      Conversion of Property

        Plaintiff's conversion claim suffers from defects similar to

those identified in the discussion of his theft claim.              To state

a claim for conversion, a plaintiff must show that:             (1) the

plaintiff owned or had legal possession of the property, or was

entitled to possession,        (2) defendant unlawfully assumed and

exercised control of the property to the plaintiff's exclusion,

(3) plaintiff demanded return of the property, and (4) defendant

refused to return the property. Khorshid, Inc. v. Christian, 257

S.W.3d 748, 759      (Tex. App.-Dallas 2008, no pet.).

        All that is contained in plaintiff's pleadings in support of

his conversion claim are conclusory sentences stated to check off

the elements of a conversion facts. Without support, they fail to

meet the required pleading standard articulated in Twombly and

Igbal. Because of these flaws, plaintiff fails to state a claim

against defendant for conversion.


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C.      Trespass to Personal Property

        To prevail on a claim for trespass to personal property,

plaintiff must show that defendant (1) interfered with the

possession or use of plaintiff's personal property, and (2) that

such interference was unlawful. Russell v. American Real Estate

Corp., 89 S.W.3d 204, 210 (Tex.App.-Corpus Christi 2002, no

pet.) . 3 "Liability does not attach, unless the wrongful detention

is accompanied by actual damage to the property or deprives the

owner of its use for a substantial period of time." Zapata v.

Ford Motor Credit Co., 615 S.W.2d 198, 201 (Tex. 1981).

        To the extent that plaintiff alleges facts, rather than

stating conclusions, the alleged facts simply do not fit into a

trespass-to-personal-property mold.                             Plaintiff has failed to

allege facts that state such a claim.                              In addition, his trespass

allegations suffer defects similar to those discussed under the

Theft of Property subheading.                        Supra at 7-9.

D.      Unjust Enrichment

        Unjust enrichment is an equitable theory of recovery based

on the principle that a person receiving benefits which were

unjust for him to retain ought to make restitution. Bransom v.


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            Texas courts refer to "trespass to personal prope1ty" as "trespass to chattels" or "trespass to
personalty." See Russell, 89 S.W.3d at 210; DH! Group, Inc. v. Kent, CV H-16-1670, 2017 WL 1088352,
at *11 (S.D. Tex. Mar. 3, 2017). The court will use the term "trespass to personal property" here because
it is the term used by plaintiff in his pleadings, but will analyze the claim as it would a trespass to chattels
or personalty claim.

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Standard Hardware, Inc., 874 S.W.2d 919, 927             (Tex. App.-Fort

Worth 1994, writ denied). It does not depend on the existence of

a wrong.     Id. However, there must be a showing that the person who

was allegedly unjustly enriched "benefit[ed] from another by

fraud, duress, or the taking of an undue advantage." Heldenfels

Bros., Inc. v. City of Corpus Christi, 832 S.W.2d 39, 42                (Tex.

1992). Undue advantage may be demonstrated by showing that the

defendant wrongfully secured, or passively received and

unconscionable retained, a benefit which was unjust for him to

retain. City of Corpus Christi v. S.S. Smith & Sons Masonry,

Inc., 736 S.W.2d 247, 250        (Tex. App.-Corpus Christi 1987, writ

denied) .     The court cannot infer from the facts alleged in the

complaint that any of those elements exist in this action.

Accordingly, plaintiff fails to state a claim for unjust

enrichment against defendant.

E.      Trade Secret Misappropriation

        "Trade secret misappropriation under Texas law is

established by showing:        (a) a trade secret existed;       (b)   the trade

secret was acquired through a breach of a confidential

relationship or discovered by improper means; and (c) use of the

trade secret without authorization from the plaintiff." Phillips

v. Frey, 20 F.3d 623, 627        (5th Cir.1994). To determine whether a

trade secret exists, Texas courts weigh six factors set forth in


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the original Restatement of Torts, section 757,         in the context of

the surrounding circumstances:

             (1) the extent to which the information is
            known outside of the business;
             (2) the extent to which it is known by
            employees and others involved in the
            business;
            (3) the extent of measures taken to guard the
            secrecy of the information;
            (4) the value of the information to the
            business and to its competitors;
            (5) the amount of effort or money expended in
            developing the information;
            (6) the ease or difficulty with which the
            information could be properly acquired or
            duplicated by others.

In re Union Pac. R.R. Co., 294 S.W.3d 589, 592         (Tex.2009).

     Plaintiff's pleading itself establishes that the name Magic

Locksmith is not a trade secret.        He advertises the name on the

Internet.    It is not a secret or guarded in some manner as to

protect it from disclosure, and is easily duplicated by others.

Even if it were a trade secret, plaintiff has pleaded no facts to

suggest that it was misappropriated.        He alleges his conclusions

that "[d]efendant acquired knowledge of plaintiff's trade secret

by theft and trickery thru [sic]     the internet," but provides no

factual basis for those conclusions.       Nor does plaintiff allege

that any confidential relationship existed between the parties.

Accordingly, plaintiff has failed to state a claim for trade

secret misappropriation against defendant.



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                                   v.
                                  Order

     For the foregoing reasons,

     The court ORDERS that defendant's motion to dismiss be, and

is hereby, granted, and all claims and causes of action asserted

by plaintiff against defendant in the above-captioned action be,

and are hereby, dismissed with prejudice.

     SIGNED November 1, 2018.




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